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 4                         IN THE UNITED STATES DISTRICT COURT FOR THE

 5                                  EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,                     )
                                                   )
 8                     Plaintiff,                  )        No. 1:12-CR-00234 LJO
                                                   )
 9            vs.                                  )        ORDER OF RELEASE
                                                   )
10   ANTONIO BECERRA-SANCHEZ (4)                   )
                                                   )
11                             Defendant.          )
                                                   )
12

13            The above named defendant having been sentenced on July 8, 2013, to a period of less

14   than time already served,

15            IT IS HEREBY ORDERED that the defendant shall be released forthwith. A certified

16   Judgment and Commitment order to follow. This Order in no way addresses any potential or

17   existing Immigration or Deportation issues.

18   IT IS SO ORDERED.

19   Dated:         July 8, 2013                   /s/ Lawrence J. O'Neill   B9ed48
                                                   UNITED STATES DISTRICT JUDGE
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